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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KEFAHHASAN                                              CIVIL ACTION

      v.

VITAL RECOVERY SERVICES, LLC                            NO. 17-628



                                        ORDER


              AND NOW, TO WIT: This 18th day of October, 2017,
it having been reported that the issues between the parties in the above action have been
settled and upon Order of the Court pursuant to the provisions of Rule 41.1 (b) of the
Local Rules of Civil Procedure of this Court (effective January 1, 1970), it is

             ORDERED that the above action is DISMISSED with prejudice, pursuant
to agreement of counsel without costs.




                                             Kate Barkman, Clerk of Court


                                             BY:     pt'?Uol. 'of.     ka..rtfJ~
                                               Lara L. Karlson
                                               Deputy Clerk
